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                               United States District Court
                               Western District of Arkansas
                                  Fort Smith Division

     Rebecka Virden, et al.                                                   Plaintiffs

     v.                             Case No. 2:23-cv-02071-PKH

     Crawford County, Arkansas, et al.                                      Defendants

            Brief in Support of the Plaintiffs’ Motion for Summary Judgment

          1. Facts

             The facts of this case are laid out in detail in the Plaintiffs’ Statement of

     Material Facts, thus, they will not retread that ground here, instead, they will

     proceed directly to their legal arguments. (Pls.’ Statement of Material Facts, ¶¶ 1-

     32).

          2. The Summary Judgment Standard

             Summary judgment is appropriate when, viewing the record in the light

     most favorable to the nonmoving party, there are no genuine issues of material fact,

     and the moving party is entitled to judgment as a matter of law. Wells Fargo Home

     Mortg., Inc. v. Lindquist, 592 F.3d 838, 842 (8th Cir. 2010) (quoting Henning v.

     Mainstreet Bank, 538 F.3d 975, 978 (8th Cir. 2008)). In ruling on a motion for

     summary judgment, courts are required to draw all reasonable inferences in favor of

     the non-moving party, and they are prohibited from weighing the evidence or

     making credibility determinations. Bell v. Kansas City Police Dep’t, 635 F.3d 346, 347

     (8th Cir. 2011) (citing Nyari v. Napolitano, 562 F.3d 916, 922 (8th Cir. 2009)). The

     evidence and inferences drawn from that evidence must be viewed in the light most
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     favorable to the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249

     (1986); Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

             A party seeking summary judgment bears the initial burden of informing the

     court of the basis for its motion and identifying those portions of the record it

     believes demonstrate the absence of a genuine issue of material fact. Celotex Corp. v.

     Catrett, 477 U.S. 317, 323 (1986). To satisfy this burden, the movant must either

     submit evidentiary documents that negate the existence of some material element

     of the non-moving party’s claims or defenses or, if the issue is one for which the

     non-moving party bears the burden of proof at trial, point out that the evidentiary

     record contains insufficient proof concerning an essential element of the moving

     party’s claims. Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986).

             The non-moving party must present affirmative evidence in order to defeat

     a properly supported motion for summary judgment. Anderson v. Liberty Lobby, Inc.,

     477 U.S. 242, 257 (1986). The non-moving party may not rest upon the allegations

     or denials of its pleadings, but its response, by affidavits or otherwise, must set forth

     specific facts showing that there is a genuine issue for trial; if it does not so respond,

     summary judgment, if appropriate, shall be entered against it. Fed. R. Civ. P.

     56(e)(3).

             The mere existence of some alleged factual dispute between the parties will

     not defeat an otherwise properly supported motion for summary judgment; the

     requirement is that there be no genuine issue of material fact. Anderson, 477 U.S. at

     247-248. The dispute about a material fact is genuine if the evidence is such that a



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     reasonable jury could return a verdict for the non-moving party. Anderson, 477 U.S.

     at 247-248.

         3. The First Amendment includes a right to receive information, which
            includes a right to access materials in a public library.

            The First Amendment to the Constitution of the United States prohibits

     state actors from trammeling the exercise of free speech, and this prohibition is

     binding on the States and their subdivisions through the Due Process Clause of the

     Fourteenth Amendment. Gitlow v. New York, 268 U.S. 652, 666 (1925). Included in

     the right to freedom of speech is the right to “receive information.” Little v. Llano

     Cnty., No. 1:22-CV-424-RP, 2023 WL 2731089, at *7 n.4 (W.D. Tex. Mar. 30,

     2023); Sund v. City of Wichita Falls, 121 F. Supp. 2d 530, 547 (N.D. Tex. 2000)

     (citing Reno v. Am. Civil Liberties Union, 521 U.S. 844, 874-880 (1997); Bd. of Educ.,

     Island Trees Union Free Sch. Dis. No. 26 v. Pico, 457 U.S. 853, 867-868 (1982)

     (plurality opinion); Tinker v. Des Moines Indep. Cmty. Sch. Dis., 393 U.S. 503, 511

     (1969); Campbell v. St. Tammany Sch. Bd., 64 F.3d 184, 190 (5th Cir. 1995)).1




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       Many courts have held that there is a “First Amendment liberty interest” in
     accessing public library materials. Neinast v. Bd. of Trs. of Columbus Metro. Libr., 346
     F.3d 585, 592 (6th Cir. 2003); Dolan v. Tavares, No. 1:10-cv-10249-NMG, 2011 WL
     10676937, at *13 (D. Mass. May 16, 2011); Hunt v. Hillsborough Cnty., No. 8:07-cv-
     01168-JSM-TBM, 2008 WL 4371343, at *3 (M.D. Fla. Sept. 22, 2008); Doyle v.
     Clark Cnty. Pub. Libr., No. 3:07-cv-00003-TMR-MRM, 2007 WL 2407051, at *5
     (S.D. Ohio Aug. 20, 2007); Miller v. Nw. Region Libr. Bd., 348 F. Supp. 2d 563, 570
     (M.D.N.C. 2004); Armstrong v. Dist. Of Columbia Pub. Libr., 154 F. Supp. 2d 67, 82
     (D.D.C. 2001).

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             The right to receive information is “vigorously enforced” when it comes to

     public libraries, which are “the quintessential locus of the receipt of information.”

     Sund v. City of Wichita Falls, 121 F. Supp. 2d 530, 547 (N.D. Tex. 2000) (quoting

     Kreimer v. Bureau of Police for Town of Morristown, 958 F.2d 1242, 1255 (3d Cir. 1995);

     citing Bd. of Educ., Island Trees Union Free Sch. Dis. No. 26 v. Pico, 457 U.S. 853, 868

     (1982) (plurality opinion); Minarcini v. Strongsville City Sch. Dist., 541 F.2d 577, 582

     (6th Cir. 1976)). Public libraries have broad discretion when it comes to deciding

     what materials to include in their collections, however, that discretion is not

     absolute, and it applies only to the selection of materials. Little v. Llano Cnty., No.

     1:22-CV-424-RP, 2023 WL 2731089, at *7 (W.D. Tex. Mar. 30, 2023) (citing U.S. v.

     Am. Libr. Ass’n, 539 U.S. 194, 205 (2003) (plurality opinion)).

             The First Amendment right to receive information prohibits public libraries

     from removing books from their shelves simply because they disapprove of the ideas

     contained in those books. Little v. Llano Cnty., No. 1:22-CV-424-RP, 2023 WL

     2731089, at *7 (W.D. Tex. Mar. 30, 2023) (citing Campbell v. St. Tammany Sch. Bd.,

     64 F.3d 184, 189 (5th Cir. 1995) (quoting Bd. of Educ., Island Trees Union Free Sch.

     Dis. No. 26 v. Pico, 457 U.S. 853, 872 (1982) (plurality opinion))). Likewise, a public

     library cannot limit access to its materials solely because of the content of those

     materials unless it can demonstrate that the limit is necessary to achieve a

     compelling government interest, and there are no less restrictive alternatives

     available to achieve that interest. Sund v. City of Wichita Falls, 121 F. Supp. 2d 530,




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     548 (N.D. Tex. 2000) (citing Int’l Soc’y for Krishna Consciousness, Inc., 505 U.S. 672,

     678 (1992)).

            The key inquiry in a book removal case is whether the decision makers were

     substantially motivated to limit or deny access to certain materials because they

     disapprove of the content in those materials or the viewpoints expressed in those

     materials. Little v. Llano Cnty., No. 1:22-CV-424-RP, 2023 WL 2731089, at *7 (W.D.

     Tex. Mar. 30, 2023) (citing Campbell v. St. Tammany Sch. Bd., 64 F.3d 184, 190 (5th

     Cir. 1995)). Content based speech restrictions are presumptively unconstitutional

     and subject to strict scrutiny. Little v. Llano Cnty., No. 1:22-CV-424-RP, 2023 WL

     2731089, at *11 (W.D. Tex. Mar. 30, 2023) (citing Reed v. Town of Gilbert, 576 U.S.

     155, 163-164 (2015); U.S. v. Playboy Ent. Grp., 529 U.S. 803, 813 (2000)). A speech

     restriction is content based if it applies to particular speech because of the topic

     discussed or to the idea or the message it expresses. Little v. Llano Cnty., No. 1:22-

     CV-424-RP, 2023 WL 2731089, at *11 (W.D. Tex. Mar. 30, 2023) (citing Reed v.

     Town of Gilbert, 576 U.S. 155, 163 (2015)).

            And if a speech restriction targets not only the content of material, but its

     viewpoint, judicial scrutiny is even more exacting. Sund v. City of Wichita Falls, 121

     F. Supp. 2d 530, 548 (N.D. Tex. 2000) (citing Rosenberger v. Rector & Visitors of Univ.

     of Va., 515 U.S. 819, 829 (1995) (“viewpoint discrimination is an egregious form of

     content discrimination”)). When a removal decision is substantially motivated by a

     desire to strict access to specific content or to particular viewpoints, the defendant

     bears the burden of proving that the restriction is necessary to serve a compelling



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     state interest, and that the restriction is narrowly tailored to serve that compelling

     state interest. Little v. Llano Cnty., No. 1:22-CV-424-RP, 2023 WL 2731089, at *12

     (W.D. Tex. Mar. 30, 2023) (citing Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015);

     Turner Broad. Sys., Inc. v. Fed. Commc’n Comm’n, 512 U.S. 622, 664-665 (1994)).

         4. The Crawford County Quorum Court’s decision to create a “Social
            Section” was substantially, if not exclusively, motivated by a desire to
            restrict access to materials that contain content about sexual minorities
            or that express viewpoints approving of same sex relationships.

             At the December 2022 meeting of the Crawford County Quorum Court

     (“QC”), Dr. Jeffrey Hamby (“Dr. Hamby”), his wife, Tammi Hamby (“Mrs.

     Hamby”), and the River Valley City Elders implored the QC to remove “…[lesbian,

     gay, bisexual, transgender, and queer] books” from the Crawford County Library

     System. (Pls.’ Statement of Material Facts, ¶¶ 1-4). The basis of their request was

     that the books offended their sectarian religious beliefs, their religious liberties, and

     their personal moral preferences. (Pls.’ Statement of Material Facts, ¶¶ 1-4). Put

     another way, they targeted certain books because of the books’ content and the

     books’ viewpoints.

             In that same meeting, the then Crawford County Judge and several members

     of the QC threatened to eliminate the library system’s funding unless it acceded to

     the demands of Dr. Hamby, Mrs. Hamby, and their like-minded allies. (Pls.’

     Statement of Material Facts, ¶¶ 6-7). Although the censors did not succeed in

     purging the books from the library system collection, they got close; the books were

     segregated and marked with a metaphorical scarlet letter to signal to the world that

     the content of the books and the viewpoints expressed in them are unacceptable to
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     a certain cohort in the Crawford County community. (Pls.’ Statement of Material

     Facts, ¶¶ 8-11). This gambit led to the creation of the Social Section, which consists

     primarily of the materials the Defendants in this case deem objectionable because

     of the content in the materials and the viewpoint expressed in them. (Pls.’

     Statement of Material Facts, ¶¶ 14-27). In addition to creating the Social Section,

     the Defendants physically placed the materials on high shelves so children would

     have difficulty finding and accessing them. (Pls.’ Statement of Material Facts, ¶¶

     16-18).

               Tactics like those employed by the Defendants in this case are, regrettably,

     not new. In Sund v. City of Wichita Falls, patrons of a public library in Wichita Falls,

     Texas obtained an injunction to prohibit enforcement of an ordinance that gave

     library card holders the right to censor certain children’s books by having those

     books moved from the children’s area of the library to an adult section. 121 F. Supp.

     2d 530, 531-535, 547-554 (N.D. Tex. 2000).

               The defendants in Sund, like the Defendants in this case, first demanded the

     purging of the books from the library system collection, but when that strategy

     failed, the library system segregated the books by moving them to the adult section.

     121 F. Supp. 2d at 547-554. And like the Defendants in this case, the Sund

     defendants put the allegedly offending books on high shelves in the adult section so

     children would have difficulty accessing them. 121 F. Supp. 2d at 543 n.15. Sund

     found that moving the books from the children’s section to the adult section




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     “…attache[d] an unconstitutional stigma to [the materials and those who want to

     view them.]” 121 F. Supp. 2d at 551 n.23.

            Sund also found that the defendants targeted the books because they

     objected to the content of the books and the viewpoints expressed in the books. 121

     F. Supp. 2d at 548-549. Not only did the defendants’ targeting violate the patrons’

     First Amendment right to receive information, it also gave the defendants a

     “heckler’s veto” over lawful, constitutionally protected expression. Sund v. City of

     Wichita Falls, 121 F. Supp. 2d 530, 549 n.21 (N.D. Tex. 2000). The defendants in

     Sund argued that moving the books from the children’s section to the adult section

     did not violate the First Amendment because they did not ban the books entirely.

     121 F. Supp. 2d at 549-550. Sund rejected this argument, finding that an outright

     ban is not the only way to violate the First Amendment; disadvantaging access, or

     imposing disparate burdens on accessing public library materials violates the First

     Amendment when a substantial reason for doing so is an objection to the content

     contained in the materials or the viewpoints express in them. 121 F. Supp. 2d at 549-

     551.

            At bottom, Sund invalidated the ordinance and enjoined its enforcement

     because the defendants engaged on content discrimination and viewpoint

     discrimination that violated the patrons’ First Amendment right to receive

     information. 121 F. Supp. 2d at 553-554. Unfortunately, Sund did not put an end to

     public library censors’ indefatigable efforts to use the police power of the state to




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     enforce their orthodoxy on those who dare to live their lives and to see the world

     differently than they do.

            In Little v. Llano County, the library system in Llano County, Texas removed

     some books and restricted access to others based on their content and viewpoint,

     specifically books about sexual minorities. No. 1:22-CV-424-RP, 2023 WL 2731089,

     at *1-3 (W.D. Tex. Mar. 30, 2023). Little found that the defendants targeted the

     books because they objected to their depiction of sexual minorities. 2023 WL

     2731089, at *11-13. Ultimately, Little ordered the defendants to return books they

     removed from the library collection because of their content or viewpoint and

     enjoined them from removing any other books during the pendency of the litigation.

     2023 WL 2731089, at *9-14.

            The Defendants in this case, like the defendants in Sund and in Little

     targeted books that feature sexual minorities, depict sexual minorities in a positive,

     light, or both. (Pls.’ Statement of Material Facts, ¶¶ 1-4); 121 F. Supp. 2d 530, 531,

     548-549 (N.D. Tex. 2000); No. 1:22-CV-424-RP, 2023 WL 2731089, at *1-3 (W.D.

     Tex. Mar. 30, 2023). The Defendants in this case, like the defendants in Sund and

     in Little segregated the books they found objectionable, and they did so substantially

     because of the content of those books and the viewpoints expressed in them. (Pls.’

     Statement of Material Facts, ¶¶ 14-27); 121 F. Supp. 2d at 543 n.15, 547-554; 2023

     WL 2731089, at *9-13.

            The defendants in Sund and in Little failed to demonstrate that their

     censorship actions were necessary to serve a compelling state interest or that the



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      means they chose were narrowly tailored to serve that interest. 121 F. Supp. 2d at

      547-554; 2023 WL 2731089, at *9-14. The Defendants in this case cannot either,

      consequently, this Court should follow the lead of Sund and Little and find that the

      Defendants in this case engaged in content discrimination and viewpoint

      discrimination that violated the Plaintiffs’ First Amendment right to receive

      information. 121 F. Supp. 2d 530, 548-554 (N.D. Tex. 2000); No. 1:22-CV-424-RP,

      2023 WL 2731089, at *9-14 (W.D. Tex. Mar. 30, 2023). Additionally, this Court

      should enjoin the Defendants in this case from segregating any more books based

      on their content, viewpoint, or both, and it should order the Defendants to return

      those books they moved from the children’s section to the Social Section back to

      the children’s section.

                                            Respectfully submitted,
                                            Terrence Cain
                                            Bar Number 99128
                                            Attorney for the Plaintiffs
                                            Attorney at Law
                                            208 Brown Street
                                            Little Rock, Arkansas 72205-5841
                                            Telephone: (501) 664-7512
                                            E-mail: terrencecain@windstream.net
                                            Brian Meadors
                                            Bar Number 2001186
                                            Attorney for the Plaintiffs
                                            1930 West Oak Shadows Circle
                                            Memphis, Tennessee 38119-5407
                                            Telephone: (980) 867-1371
                                            E-mail: brianmeadors@gmail.com




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